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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

TIFFANY MCKAY,                                       §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §                    1:20-CV-547-RP
                                                     §
NATIONAL MANAGEMENT RECOVERY                         §
CORP. and HARTFORD CASUALTY                          §
INSURANCE COMPANY,                                   §
                                                     §
                Defendants.                          §

                                                ORDER

        On July 10, 2020, Plaintiff Tiffany McKay (“McKay”) filed a status report indicating that she

and Defendant National Management Recovery Corporation “have reached an agreement to resolve

all claims against all parties.” (Status Report, Dkt. 12, at 1). The Court then stayed this action until

July 27, 2020 to enable the parties to finalize their settlement agreement. (Order, Dkt. 13). Now

before the Court is McKay’s status report indicating that the parties need an additional 30 days to

complete their settlement agreement. (Status Report, Dkt. 14, at 1–2).

        In light of McKay’s status report, the Court ORDERS that all deadlines in this action are

STAYED until August 28, 2020. McKay shall either file a notice of voluntary dismissal or a status

report no later than August 28, 2020.

        SIGNED on July 28, 2020.



                                                     _____________________________________
                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE
